                    Case 1:19-cv-11093-ADB Document 4 Filed 05/13/19 Page 1 of 2

                            UNITED STATES DISTRICT COURT                                                   FILED
                                                         for the                                    IN CL :RKS OFF ICE
                                       DISTRICT OF MASSACHUSETTS
                                                                                                    Z !. J IL    l 2 PM q: _I
                                                                                                    U.S. DISTHfCT COUi"'i
                          PAUL JONES                                                                 Dl2.TPICT O• ~ ASS .
                                      Plaintiff
                                                                        Civil Action No.:
                                         V.                             1:19-CV-11093-ADB
      MONTACHUSETTS REGIONAL TRANSIT
                   AURTHORITY, ET AL,
                                     Defendant




                                        SUMMONS IN A CIVIL ACTION
To: (Defendant'snameandaddress)               'H b   SDf-\--wo...,e..      s a\\J1-\Dtv.S   l   \       t,.Jc_
                                               I ol 5 wes+~o,1). ~-\-
                                                  Lowe.l)     1
                                                                   ho.._      0 ti 5 l
    A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) - - or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) --- you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are: ~  d...v \ SD e.S       t-J
                                                                           s, d- pQ\ \ ( S.-t-
                                                                            s¼ u~~¼ N M_Q__ 0 -;;)6 l ;;}
                                                                                                    I

     If you fail to respond, judgment by default will be entered against you for the r~ f demanded in
the complaint. You also must file your answer or motion with the court.




 ROBERT M. FARRELL
CLERK OF COURT

  /s/ - Miguel Lara
Signature of Clerk or Deputy Clerk



ISSUED ON 2019-05-13 1S:04:42.0, Clerk USDC DMA
                     Case 1:19-cv-11093-ADB Document 4 Filed 05/13/19 Page 2 of 2

           Civil Action No.: 1:19-CV-11093-ADB

                                                           PROOF OF SERVICE

                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

               This summons for (name of individual and title, if any)         !dB ~£\yl~_re Sc')\v\-\Dtv.S \ ~c.
           was received by me on (date    )ff\d ¥ l5't de) l 9
        D I personally served the summons on the individual at (place)_ _ _ _ _ _ _ _ _ _ __
           _ _ _ _ _ _ _ _ _ _ _ _ _ _on (date)_ _ _ _ _ _ _ _ _ _ ; or


        D I left the summons at the individual's residence or usual place of abode with (name)_ _ _ __

           - - - - - - - - - - - ~ a person of suitable age and discretion who resides there,

           on (date) _ _ _ _ _ _ _ , and mailed a copy to the individual's last known address; or ,~                        e,;v(-
        tl,,rserved the summons on (name of individual)        {j i(ho.,tv f;k, / tlo+A.J d8J1B--~                C....'a
           designated by law to accept service of process on behalf of (name of organization)._ _ _ __

           Ut::> S::,cf:\w,3re 3 ()\vt-i'oµ s ltv C.                      on (date) 0   7/0 s Ir 7 ;         or

        D I returned the summons unexecuted because
                                                             ---------------- ; or
        D Other (specify) :



           My fees are $ _ ....,.
                             ( .....
                                  ) '-- for travel and $    I j, [) O for services, for a total of$    L/ ·D (j
           I declare under penalty of perjury that this information is true.




                                                                          "'        Printed name and title




Additional information regarding attempted service, etc:
7/12/2019                                                    USPS.com® - USPS Tracking® Results


        TROPICAL STORM THREATENS GULF COAST. SEE IMPACTS TO USPS OPERATIONS IN YOUR ...



   USPS Tracking®                                            FAQs    > {https://www.usps.com/faqs/uspstracking-faqs.htm)



                                                 Track Another Package                 +

                                                                                                             Remove X
   Tracking Number: 70151520000018143840

   Expected Delivery on

   TUESDAY
                            by
   9        JULY
            2019 (l)        8:00pm(l)
                                                                                                                       "T1
                                                                                                                       CD
                                                                                                                       CD
                                                                                                                       a.
                                                                                                                       C"
                                                                                                                       Ill
                                                                                                                       (")

    &Delivered                                                                                                         '7'


   July 9, 2019 at 11:10 am
   Delivered, Front Desk/Reception/Mail Room
   LOWELL, MA 01851

   Get Updates V




       Text & Email Updates                                                                                       V



       Tracking History                                                                                           V



       Product Information                                                                                        V



                                                               See Less A




                                 Can't find what you're looking for?
https://tools.usps.com/go/TrackConfirmAction?tlabels=70151520000018143840                                                    1/2
                SENDER: COMPLETE THIS SECTION                                   COMPLETE THIS .',ECTION ON DELIVERY

              • Complete Items 1, 2, and 3.
            1
            1
              • Print your name and address on the reverse                                                                      • Agent
            l    so that we can return the card to you.                                                                         D Addressee I
            l • Attach this card to the back of the mallplece,                                                           c. Date of Delivery '
                 or on the front If space pennlts.
            1 1. Article Addressed to:                                      ;   D. Is delivery~ dlffenlnt from it,,m 1?         • Yes
                                                                                                                                • No
            l \\,MdtJ ~hLJ b'ho..+tv AJII*                                         HYES, enter delivery address below:


            ' 1D75 0..tes+foro                                       s+ ,
            i~ ltJwe I, 11111 o I <tS/
                                                         ti
                    Ill lllll 11111111111111111111 11111 Ull 11 ml
                       9590 9403 0415 5163 4966 74



                                                                                                                  Domestic Relllm Aec;e)pt   I




    SENDER: COMPLETE THIS SECTION
    • Complete Items 1, 2, and 3.
    • Print your name and address on the reverse                                                                      • Agent
        so that we can return the card to you.                                                                        • Addressee I
    •   Attach this card to the back of the mailplece,                                                         C. Date of Oellvery •
        or on the front If space permits.
    1. Article Addressed to:                                          D. Is delivery address different from Item 1?   D Yes
                                                                                                                      • No
! \\,MdtJ ~'hv b'ho..+rv AJII~                                           H YES, enter delivery address below:



        L,J-eS+forl) S+
1
     /D75
, ltJwe /, J11J'i O I <tS/
                           II
         II IIIIIII IIII Ill IIIIIIIII Ill II Ill II   IIII II Ill
           9590 9403 0415 5163 4966 74



                                                                                                        Domestic Return Receipt
                                                                                                                                   1
      U.S. Postal Service"'
Cl
      CERTIFIED MAIL® RECEIPT
::r   Domestic Mail Only
r:O
rn
                              USE
